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EASTERN DlSTRICT OF TENNESSEE At Greenevi|\e
AT GREENEVILLE

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HEALTHRIGHT LLC

PLEA AGREEMENT,

'l.`he United States of Amcrica` by the United States Attomey for the Eastern District of
Tcnncssee ("'USATNE”), the United States Department of Justice, Consumer Protection Branch
(“USDOJ~CPB”), the defendant, HEALTHRIGHT LLC, and the defendant’s attorneys, Mlchael
Diamondstein, Esq. and Hngh Ward, Esq., have agreed upon the following:

l. The defendant will waive indictment and arraignment and plead guilty to an
information charging the defendant with the following offenses:

(a) Count One - Conspiraoy to Commit Health Care Fraud: the defendant
knowingly, intentionally, and unlawfully conspired with one or more other persons to commit
Health Care Fraud in violation ot` 18 U.S.C. § 1347, and one or more such persons did an act to
effect the object of the conspiracy, all in violation of 18 U.S.C. § 371. The maximum
punishment for this offense is a fine not to exceed $500\000 or twice the gross gain or gross loss
resulting from the offense, whichever is greatest (see 18 U.S.C. § 357l(c), (d)),. and a $400
special assessment (see 18 U.S.C. § 3013(a)(2)(B)).

(l)) Count Two - Conspiracy to Conunit Wire Fraud: the defendant
knowingly. intentionally, and unlawlhlly conspired with one or more other persons to commit
Wire Fraud in violation of 18 U.S.C. § 1343, and one or more such persons did any act to effect

the object of the conspiracy, all in violation of 18 U.S.C. § 371. 'l`he maximum punishment for

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this offense is a fine not to exceed $500,000 or twice the gross gain or gross loss resulting from
the offense, whichever is greatest (see 18 U.S.C. § 3571(¢), (`d)), and a $400 special assessment
(see 18 U.S.C. § 30l3(a)(2)(B)).
2. in consideration ofthe dcfendant’s guilty pleas:
(a) USA'I'NE agrees not to further prosecute the defendant in the Eastern
District of Tennessee for any other non-tax criminal offenses committed by the defendant that
are related to the charges contained in the information in this case and that are known to
USATNE at the time this plea agreement is signed by both parties
(h) USDOJ-CPB agrees not to further prosecute the defendant in any district
in the United States for any other non-tax criminal offenses committed by the defendant that are
related to the charges contained in the information in this case and that are known to USDOJ-
C.PB at the time this plea agreement is signed by both parties
3. The defendant has read the information, discussed the charges and possible
defenses with defense counscl, and understands the crimes charged
4. As to the scheme contemplated by Count One: fn support of the defendant’s
guilty plea, USATNE and the defendant agree and stipulate to the following facts, which satisfy
the offense clements These are the facts submitted for purposes of the defendant’s guilty plea.
They do not necessarily constitute all of the facts in the case. Other facts may be relevant to
sentencing Both the defendant and USATNE retain the right to present additional facts to the
Court to ensure a fair and appropriate sentence in this case.
(a) from on or about June I, 2015 through on or about April 1, 2018, the
defendant conspired with the persons and entities described below (and other persons and

entities, including other pharmacies) to implement a scheme and artifice to defraud patients,

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doctors, health care benefit programs, and pharmacy benefit managers out 01" not less than
$100,000,000 and, in furtherance thereof, caused to be submitted not less than approximately
$505,00(),000 in fraudulent claims for payment, as further described herein.
Persons and Rclated Entities
(b) 'I`he subjects include thc following persons and entities:

(i) The defendant and Scott Gregory Roix (“Scott Roix”). At all times
relevant to the conspiracy, the defendant was owned and controlled by Scott Roix and his
business partner l'l.S.

(ii) SPS Ine., SPS LLC, and SP LLC (thesc three entitics, ‘_‘_S;
Pharmacy"), PPM LLC (“QM_”),’ and the three owners thereof (the “S-Pharmacy Principals").
At all times relevant to the conspiracy, the S-Pharmacy Principals owned and controlled S-
Pharmacy and PPM',

(iii) AOP LLC (“A-Pharmacy"), GP lnc. (“G-Pharmacy”), ZP (“_Z_;
Pharmacy”),2 and a person known as “Conspirator #4.” At all times relevant to thc conspiracy.
Conspirator #4 controlled A-Pharmacy, G-Pharmacy, and Z-Pharmacy. Conspirator #4 also
received ali or substantially all of the revenue obtained by those pharmacies as part of the
conspiracy; and

(iv) Numerous other persons and entities (including pharmacies) that

the defendant has identified or will identify for USATNE.

Background

(c) During the conspiracy, the defendant was an c-medicine company that

provided patients with a means of communicating directly with doctors about medical issues.

 

' 'l`hcse arc not the real names ofthesc corporate entities
2 'I'hcse arc not the real names ofthcsc corporate cntitics.

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The defendant had a legitimate business model and an illegitimate business model. As part ot`
the legitimate business model, the defendant contracted with companies called lacum tenens
(essentially doctor stat`iing agencies), which in turn contracted with doctors, The doctors that
participated in the defendant’s electronic medicine platform (the “care platform") were able to
interact with patients via telephone or video conference and write prescriptions for non-
controlled substances for patient ailments 'i` he defendant paid the doctors approximately $25 for
each patient “tele-consult” they conducted in tum, the defendant charged each patient $55 for
the doctor consult, netting $30 in the process ln the event that the doctor authorized a
prescription, the defendant had no interest in which pharmacy the patients selected to fill their
prescriptions

Summ:lrg of the Conspiraev

(d) The defendant also had an unlawful and illegitimate business model. 'l` he
defendant employed this illegitimate business model in furtherance of the conspiracy. The
illegitimate business model altered the process described in paragraph 4(c) above in important
ways. in the legitimate business model, patients who wanted medical care sought out the
defendant to connect them to doctors for the purpose ot` obtaining prescriptions t’0r common
ailments (like antibiotics). ln the illegitimate model.'the defendant deceived patients to create
enormous artificial demand for prescription medications that patients were led to believe would
provide treatment for their ailment. in the legitimate model, the defendant charged patients $55
for a telemedicine consult in the illegitimate model, the defendant automatically qualified
patients for a no-consult and charged patients nothing (beeause the patients would not pay for
medications they did not want) and then sold signed prescriptions to the conspiring pharmacies

for approximately $500 each. In the legitimate model, the defendant did not care whether the

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patients had health insurance ln the illegitimate model, the patients were automatically
disqualified if they did not have health insurance In the legitimate modei, the defendant was
indifferent to whether doctors prescribed medications which medications were prescribed, or
which pharmacy iilled the prescriptions ln thc illegitimate model, the defendant took steps to
ensure that doctors issued prescriptions that those prescriptions were for medications pre-
selected by the conspiring pharmacies (based solely upon profitability), and that the prescriptions
for those medications were delivered immediately by electronic means to the conspiring
pharmacies, not allowing patients to choose their own pharmacy Scott Roix and the defendant
designed and implemented the illegitimate business model described in this paragraph for the
purpose of furthering the conspiracy.

(e) Scott Roix and the defendant knew that the illegitimate business model
required that the defendant engage in a variety of deceptive practices I~`irst, Scott Roix and the
defendant employed a number ot` fraudulent techniques to deceive patients to disclose their
insurance information to the defendant. Second, Scott Roix and the defendant employed-a
number of fraudulent techniques to deceive doctors into issuing prescriptions for pre-selected
medications Third, Scott Roix and the defendant sold those prescriptions to the conspiring
pharmacies in violation of federal law (in the case of patients with Medicarc, TRICARE,
coverage pursuant to the Federai Employees’ Contribution Act (“E_QA”), or Medicaid) and in
violation oi`Fla. Stat. § 465 .1 85 law (in the case of patients with any insurance, including private
insurance).

(i) The first part of the scheme was designed and implemented by Scott Roix
and the defendant, but that was only one half of the scheme The second part of the scheme was

designed and implemented by the S-Pharmaey [’rincipals, S-Pharmacy_. PPM, Conspirator #4_. A-

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Pharmacy, G-l’harmacy, Z~Pharmacy and other persons and pharmacies 'l` hey depended upon
one another, and Scott Roix and the defendant conspired with all of them.

(g) Scott Roix and the defendant understood that the conspiring pharmacies
and their principals could not submit claims for payment for high-reimbursing prescription
medications without first obtaining signed prescriptions for insured patients As described
herein, Scott Roix and the defendant developed the illegitimate business model to use the
defendant’s care platform to obtain those prescriptions for insured patients Scott Roix and the
defendant also understood that they couldn’t make any money for the prescriptions unless they
sold them to the pharmacies In effect, because the defendant was providing the e-consnlt to the
patient at no cost, selling the resulting prescription was the only way for Scott Roix and the
defendant to make money as part oi` this scheme.

(h) 'l`hus, beginning on or about June 2015 and continuing through on or
about April l, 2018, Scott Roix and the defendant conspired with the S-Pharmacy Principals, S»
Pharmacy, PPM, Conspirator #4, A-Pharmacy, G-Pharmacy, and Z-Pharmacy, and other persons
and pharmacies, to: (i) use the defendant`s care platform to obtain prescriptions that were pre-
selected by the pharmacies based upon profitability using a variety ot` fraudulent techniques; (ii)
sell those prescriptions to the S-Pharmacy Principals and Conspirator #4, among others; (iii)
submit bills to the health care benefit programs for those prescriptions; and (iv) cause the
pharmacies to employ several additional fraudulent techniques (known to Scott Roix and the
defendant) to ensure that the health care benefit programs continued to pay for those
fraudulently-obtained prescriptions throughout the conspiracy.

(i) 'l` he S-Pharmacy Principals and Conspirator #4 selected medications

because the S~Pharmacy l’rincipals and Conspirat'or #4 were able to obtain extraordinarin high

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reimbursement rates for them by exploiting the difference between their actual acquisition cost
and the publicly~reported average wholesale price (each such mcdication, an ‘°lntlated AWP
Medication"). The S-Pharmacy Principals and Conspirator #4 were frequently able to obtain
compensation for Inilated AWP medications that was between three and ten times their actual
costs.

(i) During the conspiracy, the defendant understood that the pharmacies
obtained this compensation by submitting bills to companies called pharmacy benefit managers
(“_IZB_l\_/i”) that adjudicated prescription claims on behalt`of Mcdicare, 'l`RlCARE, Medicaid,
FECA, the Federal Employees Health Benetit Program (“M”), and private insurance
companies 'l`here were many such PBMs, and some of the largest in the country included
Express Scripts, CVS Caremark, Opturn, and Prime 'l`herapeutics.

(k) From approxirnately.September l, 2015 through approximately April 1,
2018, S~Pharmacy and PPM submitted not less than approximately $32(),000,000 in fraudulent
claims and actually received from the PBMs not less than approximately $81,000,000 from the
PBMs t`or fraudulently-obtained prescriptions for inflated AWP Medications purchased from
Scott Roix and the defendant

(l) Frorn approximately November 2016 through approximately December
2017, A-Pharmacy, G~Pharmacy, and Z~Pharmacy submitted not less than approximately
3185,649,000 in fraudulent claims and actually received from the PBMs not less than
approximately $24,495,000 t`or fraudulently-obtained prescriptions t`or Ini'lated AWP
Medications purchased from Scott Roix and the defendant

(m) S-Pharrnacy received approximately $1,027,975 from Medicare, $426,929

from TRICARE, $l,021,161 from various state Medicaid programs (including the Medicaid

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programs for the states of Alaska, Arizona, Califomia, Delaware, l?lorida, Georgia, Hawaii,
Illinois, Kansas, Kenlucky, Michigan, Minnesota, Nevada, New Mexico_. Ne\v York, North
Dal<ota, Ohio, Oregon, Pennsylvania, South Carolina, Tennessee, Washington, and West
Virginia), $828,297 i`rom FEHBP, and approximately $108,582 from FECA.

(n) The S-Pharmacy Principals, S-Pharmacy, PPM, Conspirator #4, A-
Pharmacy, G-Pharmacy, and Z~Pharmacy then paid approximately $37,025,000 to Scott Roix
and thc defendant for those prescriptions in direct violation of federal or state law- Other
persons and pharmacies also paid the defendant to buy fraudulent prescriptions

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(0) During the conspiracy, Scott Roix caused the defendant to generate in
excess of 100,000 prescriptions for inflated AWP Medications that it sold to the S-l’harmacy
Principals and Conspirator #4 among other persons and entities, as described below in the
section entitled “Prescription Brokering.” Each of these signed prescriptions corresponded to a
patient with Medicare, Tricare, Medicaid, FECA, FEHBP, or private insurance

(p) 'l`o generate the enormous number of insurance~covered prescriptions t`or
lntlated AWP Medications, Scott Roix and the defendant employed a variety of techniques to
deceive patients and induce them into providing their insurance information ln particular, Scott
Roix and the defendant (i) placed deceptive and misleading advertisements on various websites
and social media outlets including, without limitation, Facebook and Yahoo!, indicating that the
defendant offered cannabis~based medication and clinical research trials utilizing cannabidiol oil
(“CBD oil”) or stem cells; (ii) misinformed patients that the Inflated AWP Medications were
effective at treating various ailments; (iii) deceived patients into believing that they were

speaking with nurses or other practitioners who were engaged in the practice of medicine;

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(iv) intentionally withheld from patients the exorbitant amounts that would be billed to the
patients’ insurance t`or the Inflated AWP Medications; (v) intentionally withheld from patients
that the pharmacies were paying the defendant for prescriptions for lni`lated A.WP Mcdications;
(vi) deceived patients into believing that the prescribed Intlated AWP Medications were custom
tailored to their individual needs_; (vii) employed intentionally vague and misleading call scripts
to induce patients to say “yes" to certain recorded questions to make it appear, falsely, that the
patients understood and agreed to receive Intlated AWP Medications; (viii) substituted Inilated
AWP Medications Without obtaining patient approval or notifying patients of the substitution;
and (ix) transferred patient prescriptions for Inflated AWP Medications from one pharmacy to
another without notifying patients, among other techniques

(q) Scott Roix and the defendant knew that many or all of the above
techniques were necessary to obtain insurance information from patients For example, the
defendant caused false and misleading advertisements to be placed on various internet sites,
including on Facebool< and Yahool. An example oi` four of those false and misleading ads is

below:

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(r) Scott Roix knew that the defendant never offered any cannabis-based
medication, never offered any clinical trials relating to cannabis or CBD oil, and never offered
any trials or medications related to stem-cell thet'apy. Scott Roix knew that the above
advertisements were plainly fraudulent Scott Roix caused the defendant`s call center staff to
mislead, deceive, and “string” patients along so that the patients believed they would receive
CBD-oil, or be enrolled at some point in a cannabis-based or stem-cell based clinical trial. Scott
Roix knew that the whole purpose of the deceptive ads and deceptive calls was to obtain patient
insurance information Scott Roix also knew that many patients would not have provided
insurance information to the defendant if they understood they would never receive CBD oil or
cannabis-based medications or clinical research trials.

(s) Scott Roix knew that hundreds or thousands of patients were deceived by
the above ads and the subsequent phone calls with the call.center stal`i`. As a result of such
deception, these patients provided their insurance information to the defendant, which Scott Roix
and the defendant used to obtain prescriptions to sell to the pharmacies

(1) Scott Roix also ensured that the defendant’s call center staff were
ineentivized to, and did in fact, engage in dishonest and deceptive techniques to obtain insurance

information from patients Scott Roi:~t incentivized the call center staff through a compensation

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structure that paid call center employees a bonus each time they were able to obtain insurance
information from patients

(u) After talking to an initial call center employee (the “@_a_se_l.” call), patients
were transferred to a second call center employee for the purpose of providing answers to a
series ofpre~printed questions regarding the patients’ medical history (the “phase II" call).

(v) 'l`he defendant caused the phase ll employee to identify himself or herself

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to the patient as a “clinical staff member, medical assistant, nurse" or other title that
suggested to the patients that the phase ll employee was a trained, licensed, and practicing
medical professional. In fact, as the defendant knew, none of the phase ll employees was
actually practicing medicine while employed at the defendant During the conspiracy, Scott
Roix and the defendant explicitly prevented their “medical staff” from practicing medicine and
made it clear to the S-Pharmacy Principals and Conspirator #4 that they were nor engaged in the
practice of medicine Scott Roix and the defendant never informed patients of this fact and
instead allowed the patients to believe the opposite based upon the defendant’s actions. Scott .
Roix understood and intended that this technique caused patients to believe that they were
talking to an employee who was trained and licensed to practice medicine and actually was
practicing medicine when in fact no employee of the defendant practiced medicine while
employed by the defendant

(w) The defendant admits that tens of thousands of patients were deceived by
the defendant using the techniques described in this scction, and that as a result of such deception
these patients provided the defendant with their insurance information The vast majority of the

patients would not have provided their insurance information to the defendant had the defendant

utilized honest advertising practices and honest call scripts.

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(x) The defendant also_ensured that the overwhelming majority (in excess of
95%) of ali patients who received prescriptions for inflated AWP Medications never spoke with
the prescribing doctor and never consulted or interacted in any meaningful way with any person
lawfully engaged in the practice ot`medicine,

(y) Ot` the tens of thousands of patients deceived by the techniques authorized
by the defendant and implemented by the defendant, hundreds were located in the Eastern
District of Tennessee, including the following list of patients in the Eastern District of

Tennessee:

S.C. 312016 Lidocaine ' Dicloi"cnac ' 5% 33 54

L.S. 6/2016 Lidocaine 5%‘ Diclofenac 3% 849 745 62
J.F. 7/20 l 6 Lidncaine ' Diclofcnac 3% 524 876 S 1
D.W. 3/20!7 Lidocainc ' inc $1 815

J.S. 3/2017 Lidocainc 'Diclofenac 3% $19704 813419

J.B. 4/2017 Lidocainc l 018 317 450
P.O. 9/2017 Diclot`enac 3 ‘ I~`enortho 18 35 440
R.W. 9/2017 Diclofenac ' Lidocaine 5 ' Fettortho 1 1 34 707
B.N. 9/2017 Diciot`cnac ' Cifmzoi Sl 76 33 55
T.W. 10/2017 Dic|ot`enac ' Lidocaine ' Fcnortho $23 935 $9 434

 

(z) Scott Roix also caused the defendant to discount its standard patient
consultation fee of approximately $55 to $0 for every patient contacted by the defendant about
v inflated AWP Medications because the defendant knew that the patients did not understand that
their information would be used to generate prescriptions that were sold to conspiring
pharmacies Through this process, the defendant created the appearance of demand for lntlated

AWP Medications, but no such demand actually existed.

(aa) Deceiving patients was only the first step in the conspiracy Scott Roix
and the defendant also needed to obtain prescriptions from doctors for lnflated AWP
Medications for each patient who had provided his or her insurance information to the defendant.
Without those signed prescriptions, the defendant would not be able to meet his end of the

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prescription brokering bargain with the S-Pharmacy Principals and Conspirator #4, as described
below in the section entitled “Prcscription Brokering."
ll - Doctor Deception

(bb) At`ter obtaining patient authorization using the misleading methods
described above, the defendant deceived doctors to authorize medically unnecessary
prescriptions for lntlated AWP lvlcdications. To accomplish this, Scott Roix and the defendant:
(i) misrepresented to doctors that patients had requested specific inflated AWP Medications by
name; (ii) intentionally concealed from doctors that the pharmacies paid the defendant on a per-
prescription basis or split revenue with the defendant in violation of federal or state law;
(iii) intentionally concealed from participating doctors the fact that many patients had stated that
the Inl"lated AWP Medications were ineffective at treating patient ailments; (iv) r_e-subrnitted
prescriptions t`or lnflated AWP Medications to different doctors if the first doctor did not
authorize a prescription or wrote a prescription for a non-Int`lated AWP Medication; (v) designed
the care platform in a manner that channeled participating doctors to select an lnflated AWP
Medication from a drop-down menu that was pre»populated with a list consisting only of lnl`lated
AWP Medications, all of which were selected by the S~Pharmacy Principals and Conspirator #4
(and others whose identities are known to the detendant); and (vi) misled doctors to believe that
many patients had requested 3 automatic retills. among other techniques

(cc) Scott Roix also instructed the defendant’s staff to explain to doctors the
importance of: (i) writing prescriptions for the Inflated AWP Medications; (ii) authorizing
substitutions; and (iii) prescribing the “supplemental therapies” (which also were Intlated AWP

Medications selected by the phamiacies).

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(dd) Scott Roix also caused the defendant’s staff to indicate to doctors that
patients had requested or were interested in “supplemental medications" like scar creams,
migraine medications, or “Durachol” (esscntially a multi-vitamin), all ot` which were lntlated
AWP Medications. ln response, those doctors wrote thousands ot` prescriptions for those
supplemental therapies that the defendant then sold to the pharmacies ln turn, the pharmacies
billed those prescriptions to the PBMs. In fact, as the defendant kncw, on most occasions, those
patients had not requested those supplemental therapies and did not understand that their
insurance companies would be billed for them.

(ee) Dr. J.L., was a physician whose practice was located in the Eastcrn
District_ ofTennessee.

(ft) Frorn approximately June l, 2015 through his decision to cease issuing
prescriptions through the defendant’s care platform in the summer of 2016, Dr. J.l,. authorized
thousands of prescriptions for lnl'lated AWP Medications that the defendant then sold to
pharmacies participating in the conspiracy. Those prescriptions resulted in not less than 605
claims paid by the PBMs corresponding to at least 231 patients, many of whom were located in
the Eastern District of Tennessee.

(gg) Once the defendant had obtained patient insurance information and
corresponding prescriptions for lnt`lated AWP Mcdications from the det`endant`s participating
doctors (including prescriptions written by Dr. J.L.), the defendant then sold those prescriptions
to the S~Pharmacy Principals, Conspirator #4. and others so that they could bill them to the
PBMs.

(hh) The defendant understood that selling those prescriptions was in violation

of federal law and in violation ol`Fla. Stat. 465. 185 (in the case of patients With any insurance,

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including private insurance). rl`he defendant also understood that the PBMS required the
pharmacies to obtain prescriptions and bill for them in accordance with applicable federal and
state laws. The PBMs would not have reimbursed the pharmacies for prescriptions for Inilated
AWP Medications if they had known that the pharmacies had purchased them from the
defendant in violation of federal or state law.

IlI - Prcscription Brokering

(ii) The defendant entered into written agreements for the purpose of selling
prescriptions to the pharmacies 'l`hose written “marl<eting agreements” were designed to
conceal the actual prescription brokering arrangements between the parties

(ij) The defendant entered into written “marketing agreements” with S-
Pharmacy, PPM, A-Pharmacy, and others involved in the conspiracy. These marketing
agreements provided that the defendant would perform marketing and brand development
services on behalf of S-Pharrnaey, PPM; and A-Pharmacy in return for a flat fee calculated on a
monthly basis determined in advance 0_[" each month.

(kl<) Beginning on or around September 2015 and continuing through
approximately May 2016, the written marketing agreement between the defendant and S-
Pharmacy required S~Pharmacy to pay the defendant a monthly fee calculated as $37,650
multiplied by the number of full time employees that the defendant would dedicate to the S~
Pharmacy account in the upcoming month. The agreement also stated: “The parties further agree
that the Fee is not based on the value or volume of services generated by the defendant on behalf
of [S-Phat“rnacy]." The purpose of this agreement was to make it appear that the defendant had a
legitimate business relationship with S-Pharniacy pursuant to which it would provide bona fide

marketing services, but not be selling prescriptions

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(_ll) in rcality, the monthly fee that S-Pharmacy paid to the defendant during
the conspiracy was calculated only as a function of the “value [and] volume” of prescriptions for
lntlated AWP Medications that the defendant sent to S-Pharmacy. ln fact, the defendant agreed
with the S-Pharmacy Principals that they would split the net revenue from successfully billed
prescriptions equally; and the defendant caused the defendant staff to exchange dozens or
hundreds of emails with S~Pharmacy to track the delivery of and billing for prescriptions sent
from the defendant to S-Pharmacy. Scott Reix, with the assistance of the del"endant’s staff, also
conspired with the S-Pharmacy Principals to create invoices and other documents that made it
appear as though the monthly fee was calculated in the manner contemplated by the written
marketing agreement when, in fact, the defendant knew that they were sharing revenue with S-
Pharmacy.

(mm) Beginning around May 2016, the fee provision in the written marketing
agreement between S-Pharmacy and the defendant was changed From that point forward, S-
Pharmaoy agreed to pay a flat fee to the defendant in the amount of $300,000 per week for

marketing services

 

(nn) Around the fall of 2016_, the defendant entered into a another flat-fee
written marketing agreement with PPM, which was controlled entirely by the S-Pharmacy
Principals, as further described in the section entitled “Identity Concealment Fraud” below.
From that point forward, PPM agreed to pay a flat fee to the defendant in the amount of $95,000
per week for marketing servicesl

(oo) The defendant`s flat fee agreements with S-Pharmacy and PPM both
contained language stating that the fee was not based upon the “value or volume of services

generated by the defendant on behalf ot" S~Pharmacy or l’PM. However, beginning in May

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2016, the defendant had agreed to sell signed prescriptions to S~Pharrnacy ata rate of
approximately 3500 per prescriptionl PPM joined the agreement on the same terms in October
2016.

(pp) Speciiically, in May 2016, the defendant actually agreed with the S-
Pharmacy Principals that the defendant would deliver approximately 2,600 signed prescriptions
per month to S-Pharmacy in exchange for $300,000 per week.

(qq) On Oetober 10, 2016, Scott Roix on behalf of the defendant exchanged
emails with an S-Phaimacy Principal in which Scott Roix on behalf of the defendant agreed to
deliver approximately 3,400 signed prescriptions per month to S-Pharmacy and PPM (the entity
created for puiposes of concealing the S'-Phannacy Principals` identity from the PBMS as part of
the NCPDP fraud described below) in exchange for $395,000 per week.

(rr) The defendant and Scott Roix agreed to similar prescription brokering
terms with Conspirator #4, and, as a result, caused the defendant to enter into similar agreements
with A-Pharmacy, G-Pharmacy, and Z-Pharmacy, all of which were controlled by Conspirator
#4.

(ss) Neither Scott Roix, the defendant_. nor any other person or entity acting at
the direction of Scott Rcix or the defendant, provided “market'ing services” to any pharmacies
The only thing that Scott Roix and the defendant provided to the S-Pharmacy Principals and
Conspirator #4 were signed prescriptions (obtained by deceiving patients and doctors) for
Intluted AWP Medications selected by the S-Pharmacy Principals and Conspirator #4 based
solely upon their profitability

(tt) ln return, the S-Pharmacy Prineipals paid Scott Roix and the defendant not

less than $31,935,751 (consisting of $27,292,675 paid on behalf of prescriptions purchased by S~

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Pharmacy and $4,643,076 paid on behalf of prescriptions purchased by PPM); and Conspirat'or
#4 paid Scott Roix and the defendant not less than $5,089,471 (consisting 0{$3.551,625 paid
directly to the defendant and $1,537,846 paid directly to the defendant).

{uu) Other pharmacies involved in the conspiracy also paid Scott Roix and thc
defendant millions o't` dollars for prescriptions for lntiated AWP Medications, including
prescriptions covered by Medicare, 'l`R]CARE, l\/iedicaid, or FECA.

IV - ldcntity Concealment Fraud

(vv) During the conspiracy, the defendant understood that various PBMs
terminated their contracts with S~Pharmacy and A~Pharmacy at various times during the
conspiracy.

(ww) As a result ot` these terminations, the S-Phannacy Principais created PPM
in October 2016 for the purpose of billing the defendant prescriptions that S~Phannacy could not
bill by re~directing those prescriptions through pharmacies in which the S-Pharmacy Principals
had silent ownership or economic interests, including pharmacies in Floricla, Indiana, and 'l`exas.
Scott and the defendant Roix knew that the S-Pharmacy Principals concealed their economic
interest in those pharmacies for the purpose of deceiving the PBMs.

(xx) Similarly, on or about July 18. 2017, Conspirator #4 installed trusted
confederates as the nominal owners of G-Pharmacy and Z~Pharmacy, but maintained control of
the business and operations of both of those pharmacies Conspirator #4 did this for the purpose
of billing the defendant prescriptions that A-Pharmaey could not bill by rtc-directing those
prescriptions through G-Pharmacy and Z-Pharmacy. Scott Roix and the defendant knew that
Conspirator #4 had concealed his ownership of G~Phnrmacy and Z-Pharmacy for the purpose oi`

deceiving the PBMS.

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(yy) Moreover, Conspirator #4’3 involvement in the conspiracy included him
concealing his control and ownership of A-Pharrnacy by installing a confederate - B.l-I. - as the
owner of that pharmacy. Prior to the time period of this conspiracy_, a predecessor entity to the
defendant sold prescriptions to a pharmacy called Oldsmar, which was owned and controlled by
Conspirator #4. ln early 2015, the Fedcral Bureau of lnvestigation executed a search warrant of
Oldsmar as part of a different criminal investigation, which then led to the decision by various
PBMS to terminate Oldsmar. 'l`hus, when the defendant agreed to sell prescriptions to
Conspirator #4 (in this conspiracy), they both understood that Conspirator #4 had to conceal his
ownership in the pharmacy - A-Pharmacy - that would bill the PBMs for those prescriptions
As such, the defendant knew that Conspirator #4 concealed his ownership of A-Pharmacy for the
purpose of deceiving the PBMs.

5. As to the scheme contemplated by Count 'l`wo; In support of the defendant’s
guilty plea, USDOJ-CPB and the defendant agree and stipulate to the following facts, which
satisfy the offense elements These are the facts submitted for purposes of the defendant’s guilty
plea They do not necessarily constitute all of the facts in the case. Other facts may be relevant
to sentencing Both the defendant and USDOJ-CPB retain the right to present additional facts to
the Court to ensure a fair and appropriate sentence in this case.

(a) Between .luly l, 2017 and August 1, 2018, the defendant,' in addition to its
telemedicine components was also in the business ot`marketing and selling numerous consumer
products, including weight~loss pills, skin creams, and testosterone supplements (collcctively,
“consumer groducts”). Oft`tcers and employees of the defendant knowingly drafted marketing
materials; arranged for distribution of the materials; supervised others who managed a

telcmarketing call-center in Largo, Florida; directed the training of telemarketers on sales tactics

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and the use of sales scripts; and used various domestic and international corporate entities to
process credit card transactions

(b) As part of thc defendant’s telemarketing operations, the defendant’s
officers and employees knowingly and willfully devised call scripts that were designed to
deceive cousumers, in that they contained claims that were materially falsc, misleading, and
omitted material information that induced consumers to allow credit card charges to the
defendant, for the financial benefit of the defendant

(c) For example, the defendant’s telemarketcrs made numerous false and
deceptive claims to consumers about a variety of consumer products they sold. These claims

included the following‘.

(i) 'l`elemarketcrs falsely claimed that a product called "‘Pure Garcinia
Cambogia" would “prevent[] fat from being made” and “increase{] serotonin levels which helps
you feel fuller longer, helps maintain healthy stress hormone cortisol that can decrease belly and

thigh fat and most importantly it’s all natural and stimulant free weight loss with no known side

effects.”
(ii) 'l"elemarketers falsely claimed that “Flawless Youth Skintensive
Xcel,” (“Flawless Youth") “uses a clinically proven formula that features acetyl hexapeptide 8, a
material that miniics the effect on deep wrinkles of Botox.”
(d) T he defendant’s officers and employees knowingly trained telemarketers
to dissuade consumers from doing independent research on the products for fear they would
discover the false claims in the call scripts. When consumers told telemarketers that they wanted

to conduct further researeh, teletnarketers would falsely tell consumers “I am the best resource

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for your research. I can give you more information and more specific responses to the questions
you need answered than a website. Our product is 100% naturai. 1 have all thc ingredients here!"`

(e) Thc defendant’s sales scripts for many ot`its products lured consumers
into purchasing products, falsely assuring them that their purchases were risk-free and promising
excellent customer service.

(i) 'l"elcmarketers took consumers’ credit card information to cover what they
described as minor “shipping costs” for the initial shipment, and then telemarketers enrolled
consumers into a subscription for the product that would bill their credit cards f"or the consumer
products on a monthly basis. Telemarketers deceptively assured consumers that the monthly
enrollment was “risk free," and if for any reason they wanted to avoid that monthly charge, they
simply needed to call the defendant’s customer service department, and upon speaking with
those representativcs, they could receive a full refund Teiemarketers also deceptively assured
consumers that they could cancel the subscription at any time. 'l`hcsc claims of excellent
customer service, ease oi`returns, and subscription cancellations were false.

(g) In fact, the defendant`s customer service was primarily an arm of its
telemarketing force. Customers calling to cancel or demand refunds Were not called back, put on
hold, stalled, and, on the occasions that consumers did speak to someone in the defendant’s
customer service group_. they otherwise were run through a gauntlet of scripted rebuttals that

used many similar deceptive or unfounded claims that the defendant’s telemarketers used to

market the products in the first place. For example, the defendant’s customer service
representatives would deceptively convince consumers demanding returns that “the product is
said to work best over time, and was soid to you at a highly discounted rate. This is a one-time

purchase, but you can always call back to reorder for the same low price. <Product Name> offers

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a full 30-day satisfaction guarantee to give you enough time to try the product and begin to see
the results, OK?" 'l`elemarketers also concealed the defendant’s corporate identity, identifying
themselves as calling on behalf of the brand themselves for example, “I»li. This is
calling on behalf of Pure Garcinia Cambogia,"’ never providing the delendant’s name
specifically While telemarketers did provide customer service numbers, the defendant used over
20 service numbers for their products, causing confusion for consumers persistent enough to
continue the refund process. Oi`ten, even after consumers returned the products and were
promised refunds, they still incurred charges from the defendant

(h) 'I`he defendant`s telcmarketers falsely promised consumers that the
company would protect their personal and credit card information In a seripted rebuttal to
consumer concerns entitled “l don`t give my card over the phone-credibility," the defendant’s
telernarketers would falsely state “l understand EXACTLY where you are coming from but the
bank that approved you for that credit card would investigate the authenticity of this offer for you
immediately!” T'elemarketers convinced consumers that the defendant “would NEVER
jeopardize our privilege to charge credit cards as our normal way of doing business over a couple
of dollars You’re in GREAT hands, so which card are you using today? Visa MasterCard or
Discover?” ln l`act, the defendant did not properly ensure the security of its servers or the
information on it, which resulted in at least one security breach that exposed consumers’ credit
card information to outside parties t

(i) The defendant’s officers and employees were aware of consumer
complaints about, and returns of, the products it sold, and were also aware that the defendant
experienced a high rate of credit card chargebacks. ln spite of these consumer complaints, the

defendant never took steps to investigate consumer complaints or alter its business model.

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(i) Because the defendant routinely sold products to thousands of consumers
each month, chargebacks on those sales often exceeded numerical caps set by financial
institutions In order to minimize the risk of chargebacks to the defendant’s consumer products
telemarketing busincss, the defendant’s officers and employees established a series of corporate
entities, each of which was assigned a separate credit.card merchant identification number
(“M_ID”) through which the defendant passed payments and chargebacks. ln cases where
chargebacks exceeded or risked exceeding a relevant numerical cap, the defendant’s officers and
employees moved payment settlements from one MID to another. This diffused the risk that
chargebacks in a given time period would reach or exceed a number that might result in financial
institutions halting settlements, prolonging the defendant`s ability to work with financial
institutions This, in turn, allowed the defendant’s ability to charge consumer credit cards to
continue

6. The defendant is pleading guilty because the defendant is in fact guilty. The
defendant understands that1 by pleading guilty, the defendant is giving up several rights,
including:

(a) the right to have his case presented to a grand jury for these crimes;

(b) the right to plead not guilty;

(c) the right to a speedy and public trial by jury; z

(d) the right to assistance of counsel at trial;

(e) the right to be presumed innocent and to have the burden of proof placed
on the United States to prove the defendant guilty beyond a reasonable doubt;

(f) the right to confront and cross-examine witnesses against the defendant;

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(g) the right to testify on one’s own hehali`, to present evidence in opposition
to the charges, and to compel the attendance of witnesses; and

(h) the right not to testify and to have that choice not used against the
defendant. `

7. 'l`he parties agree that the appropriate disposition of this case Would be the

following as to each count:

(a) 'l`he Court may impose any lawful terms of probation and any lawful fines
up to the statutory maximums

(b) 'l`he Court will impose special assessment fees as required by law; and

(c) The' Coutt may order forfeiture as applicable and restitution as
contemplated by paragraph 10.

(d) No promises have been made by any representative of USATNE or
USDO.l-CPB to the defendant as to what the sentence will be in this case. Any estimates or
predictions made to the defendant by defense counsel or any other person regarding any potential
sentence in this case are not binding on the Court, and may not be used as a basis to rescind this
agreement or withdraw the defendant’s guilty plca. The defendant understands that the sentence
in this case will be determined by the Court after it receives the presentence investigation report
from the United States Probation Gftice and any information presented by the parties 'l`he
defendant acknowledges that the sentencing determination Will be based upon the entire scope of
the defendant’s criminal conduct, the defendant’s criminal history, and pursuant to other factors
and guidelines as set forth in the Sentencing Guidelines and the factors set forth in 18 U.S.C. §

3553.

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(_e) Pursuant to Rule ll(c)(l)(B), and in consideration of the terms of this plea
agreement and the relevant policy statements and related commentary, USATNE and USDOJ-
CPB agree to recommend at the time of sentencing that pursuant to U.S.S.G. § 8C2.2(b), no
precise determination of the guideline fine range is required because it is readily ascertainable
that the defendant cannot and is not likely to become able to pay the minimum of the guideline
fine range. The defendant understands and agrees that the recommendation set forth in this
paragraph is made pursuant to Rule ll(c)(l)(B) and, as such, is not binding on the Court. 'l`he
defendant further understands and agrees that if the recommendation set forth in this paragraph is
rejected by the Court, such rejection may not be used by the defendant as a basis to rescind this
plea agreement or withdraw the defendant’s guilty plea.

8. Given the defendant’s agreement to plead guilty, USATNE and USDOJ-CPB will
not oppose a two~level reduction for acceptance of responsibility under the provisions of §
3El .l(a) of the Senteneing Guidelines. 'Further, if the defendant’s offense level is l6 or greater,
and the defendant is awarded the two-level reduction pursuant to § 3El.l(a), USATNE and
USDOJ-CPB agree, at or before the time of sentencing to move the Court to decrease the
offense level by one additional level pursuant to § 3El.l(b) of the Sentencing Guidelines.
Should the defendant engage in any conduct or make any statements that are inconsistent with
accepting responsibility for the delendant"s offense_, including violations ol" conditions of release
or the commission of any additional offense(s) prior to sentencing, USATNE and USDOJ-CPB
will be free to decline to make such inotion, to withdraw that motion if already madc, and to
recommend to the Court that the defendant not receive any reduction for acceptance of

responsibility under § SEl ,l of the Sentencing Guidelines,

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9. The defendant agrees to pay the special assessment in this case prior to
sentencing

l{). The defendant agrees that the Court shall order restitution, pursuant to any
applicable provision of law, for the losses caused to the victims of the offenses set forth in the
lnfor.mation relating to this agreement Pursuant to Rulc l, l(c)(l)(B) of the Federal Rules of
Criminal Procedure, the parties agree to recommend that the defendant be responsible, jointly
and severally with Scott Roix, for restitution in an amount of $5,000,000, to be paid to the
victims in this case, i.e., the health care benefit programs This amount reflects the defendant’s
role in the conspiracy and the defendant’s lesser culpability relative to other responsible parties
(as described in this plea agreement and underlying Inforrnation). In accordance with this
stipulation, the parties agree', pursuant to 18 U.S.C. § 3664(h) to recommend to the Court that the
defendant be held jointly and severally liable with Scott Roix for restitution of $5,000,000. The
parties understand and agree that the total restitution3 in this case will also be owed by others
mentioned in this Plea Agreement and the lnformation, including the defendant

ll. ln addition to restitution in this criminal case, the defendant may ultimately pay
damages and penalties pursuant to a settlement in a parallel Federal civil proceeding with
USA'I'NE_. The parties agree that any amounts paid by or on behalfof` the defendant or Scott l
Roix in the parallel Federal civil proceeding for the same loss (but not including amounts paid
for penalties relating to any amounts paid for loss) to any of the same victims of the same

offenses as the criminal ease should offset the defendant’s criminal restitution, in accordance

 

3 The total amount of restitution to be owed to the victims in this and the related cases is not

fully known at the time of the signing of this plea agreement ln pan, this is a result of the sheer §
number of health care benefit programs that suffered losses. The parties anticipate, however, §
that the full amount, and the apportionment of the full amount of restitution will be known at the §
time of sentencing in this case and the related cases.

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with 18 U.S.C. § 3664(])(2). USATNE shall provide to the Clerk of the Court the amounts paid
to any parallel victims for the same loss, so that the Clerk of the Court may reduce the balance ol`
the defendant`s restitution accordingly

12. The defendant agrees to pay all fines and restitution imposed by the Court to the
Clerk of Court. 'l"he defendant also agrees that the full fine and/or restitution amount(s) shall be
considered due and payable immediately llj` the defendant cannot pay the full amount
immediately, the defendant agrees that Probation Oitice will have the authority to establish
payment schedules to ensure payment ot` the fine and/or restitution The defendant further agrees
to cooperate fully in efforts to collect any financial obligation imposed by the Court by set-off of
federal payments, execution on non~exempt property, and any other means the United States
deems appropriate The defendant and counsel also agree that the defendant may be contacted
post-judgment regarding the collection o_t` any financial obligation imposed by the Court without
notifying the defendant’s counsel and outside the presence ot` the defendant’s counsel. In order
to facilitate the collection of financial obligations to be imposed with this prosecution, the
defendant agrees to disclose fully all assets in which the defendant has any interest or over which
the defendant exercises eontrol, directly or indirectly, including those held by a nominee or other
third party. In furtherance of this agreement, the defendant additionally agrees to the following
specific terms and conditions:

(a) lt` so requested by USATNE or USDOJ-CPB, the defendant will promptly

submit a completed financial statement to USATNE and USDOJ-CPB, in a form it or they
provide and as it or they direct. The defendant promises that such financial statement and

disclosures will be complete, accurate, and truthful.

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(b) The defendant expressly authorizes USATNE and USDOJ~CPB to obtain
a credit report on the defendant in order to evaluate the defendant’s ability to satisfy any
financial obligation imposed by the Court. `

(c) lf so requested by USA’l'NE or USDOJ»CPB, the defendant will promptly
execute authorizations on forms provided by USATNE and USDOJ-CI’B to permit USATNE
and USDOJ-CPB to obtain financial and tax records of the defendant

l3. The defendant understands that if the defendant holds any regulatory licenses or
permits, or is contracted Witb any fcdcral, state, or local governmental entity, the conviction in
this case may result in the suspension or revocation of those licenses and permits or the
termination of those contracts The defendant understands that the defendant may not use
anticipated or unanticipated collateral consequences such as these as a basis for withdrawing the
defendant`s guilty plea.

14. Upon receiving written notice from USATNE or USDOJ~CPB, but in any event
not before October 10, 2018, thc defendant shall make the information and this plea agreement
conspicuously available to the public on its website for four (4) years after receipt of such notice,
and to communicate to all of defendant’s employees that it has entered into this agreement and
make available the information and this agreement

15. This agreement shall bind the defendant its successor entities (if any), parent
companies and any other person or entity that assumes the liabilities contained herein
(“successors~in~interest”). 'l`he defendant, or its successors-in-interest, ii`applicable, shall
provide USATNE and USDOJ-CPB with immediate notice of any name change, business
reorganization, sale or purchase of assets, divestiture ot`assets, or similar action affecting the

defendant’s ability to pay any fine ordered by the Court or affecting this agreement No change

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in namc, change in corporate or individual control, business reorganization, change in ownersliip,
merger, change of legal status, sale or purchase ol" assets, or similar action shall alter the
dei"endant`s responsibilities under this agreement The defendant shall not engage in any action
to seek to avoid the obligations and conditions set forth in this agreement if such transaction or
series of transactions has the effect of circumventing or frustrating the purposes of this
agreement, as determined in the sole discretion of USATNE or USDOJ-CPB, it shall be deemed
a breach of this agreement

16. The defendant acknowledges that the principal bcnths to USATNE and USDOJ-
CPB of this agreement include the conservation of limited government resources and bringing a
certain end to the case. Accordingly, in consideration of the concessions made by USATNE and
USDOJ~CPB in this agreement and as a further demonstration ofthe defendant’s acceptance of
responsibility for the offense committed, the defendant voluntarily, knowingly, and intentionally
agrees to the following:

(a) The defendant will not file a direct appeal ol" the del`endant’s conviction or
sentence with one exception: The defendant retains the right to appeal a sentence imposed above
the sentencing guideline range determined by the Court or above any mandatory minimum
sentence deemed applicable by the Court, whichever is greater. The defendant also waives the
right to appeal the Conrt’s determination as to whether the dcfendant’s sentence will be
consecutive or partially concurrent to any other sentence

(b) The defendant will not tile any motions or pleadings pursuant to 28 U.S.C.
§ 2255 or otherwise collaterally attack the defendant's conviction or sentence, with two
exceptions The defendant retains the right to tile a § 2255 motion as to (i) prosecutorial

misconduct and (ii) ineffective assistance ofconnsel.

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(c) The defendant will not, whether directly or by a representatlvc, request or
receive from any department or agency of the United States any records pertaining to the
investigation or prosecution of this case, including, without limitation, any records that maybe
sought under the Freedom of information Act, 5 U.S.C. § 552, or the Privacy Act of 1974, 5
U.S.C. § 552a

l7. This plea agreement becomes effective once it is signed by the parties and is not
contingent on the defendant’s entry of a guilty plea. 'I` he defendant’s signature on this plea
agreement constitutes the defendant’s admission that the facts contained herein are true and
accurate li`USATNE or USDOJ-CPB violate the terms of this agreement, the defendant will
have the right to withdraw from this agreement lf the defendant violates the teams of this
agreement in any way (including, without limitation, by failing to enter a guilty plea as agreed
herein, moving to withdraw guilty plea alter entry, or by violating any court order or any local,
state, or federal law pending the resolution of this case), then USATNE or USDOJ-CPB will
have the right to void any or all parts of the agreement and may also enforce whatever parts of
the agreement it chooses In addition, USA’I`NE or USDOJ~CPB may prosecute the defendant
for any and all federal crimes that the defendant committed related to this case, including any
charges that were dismissed and'any other charges that USATNE and USDOJ-CPB agreed not to
pursue 'l`he defendant expressly waives any statute of limitations defense and any constitutional
or speedy trial or double jeopardy defense to prosecution for the conduct contemplated by this
agreement The defendant also understands and agrees that a violation of this agreement by the
defendant does not entitle the defendant to withdraw the defendant’s guilty plea in this case.

18. 'l`he United States will file a supplement in this case, as required in every case by

the Local Rules of the United States District Court for the Eastern District of 'l`ennessee, even

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though there may or may not be any additional terms. Il" additional terms are included in the
supplement, they are hereby fully incorporated herein.

19. This plea agreement and supplement constitute the full and complete agreement
and understanding between the parties concerning the defendant’s guilty plea to the above-
refereneed charges, and there are no other agreements, promises, undertakings, or understandings
between the defendant and the United States. The parties understand and agree that the terms ot"
this agreement can be modified only in writing signed by all of the parties and that any and all
other promises, representations, and statements whether made before, contemporaneous with, or

after this agreement, are null and void.

*****

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J. Douglas Overbey
United States Attorney

As to Count c for USATNE:

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Date

     

 

 

avid L. Gunn
Assistant United States Attorney

jél¢//Zd/f By:

Daté

 

Assis nt United States Attorney

As to Count Two for USDOJ-CPB:

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Da}e / John Claud
USDO.I 'I`rial Attomey

      
  

As to Counts One an for the D en a

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Attorney for the defendant llealthRi;ht LLC

Signature Pagc to HcalthRight LLC Plca Agreement

Certitication of the Det`endant

I have been duly authorized according to the bylaws and relevant organizational
documents ot` the defendant HealthRight LLC (“the defendant") to enter into this agreement on
behalf oi` the defendantl l have read this agreement in its entirety. l have had enough time to
review and consider this agreement, and l have carefully and thoroughly discussed every part ot`
it with the dcfendant`s attorney. I understand the terms of` this agreement, and l voluntarily agree
to those terms on behalf of the defendant l have discussed the evidence with the defendant’s
attorney, and defendant’s attorney has advised me of defendant’s rights, of possible pretrial
motions that might be Hled, of possible defenses that might be asserted either prior to or at trial,
of the sentencing factors set forth in 18 U.S.C. § 3553(a), of relevant Senteneing Guidelines
provisions, and of the consequences of entering into this agreement No promises, inducements,
or representations of any kind have been made to me or to the defendant other than those
contained in this agreement No one has threatened or forced me or the defendant in any way to
enter into this agreement l am satisfied with the representation of the defendant’s attorney in
this matter, and l am pleading guilty on behalt`ol" the defendant because the defendant is guilty of
the charge and wishes to take advantage of the promises set forth in this agreetnent, and not for

any other reason.

 

7”% V“/J
Date S ott G. oix

Duly Authorized Representative of`
the defendant HealthRight LLC

Certification Page to HealthRight LLC Plea Agrcement

